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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


 PATRICIA KENNEDY,                        :
                                          :
                                          :
       Plaintiff,                         :
                                          :         CIVIL ACTION NO.
                                          :         4:20-CV-0069-LMM
 v.                                       :
                                          :
                                          :
 SHRINATHJI-KRUPA, INC.,                  :
                                          :
                                          :
                                          :
       Defendant.                         :

                                      ORDER

      This case comes before the Court on Plaintiff’s Motion for Attorney Fees,

Costs, Expert Fees and Litigation Expenses [30]. After due consideration, the

Court enters the following Order:

I.    BACKGROUND

      The Court previously granted Plaintiff Patricia Kennedy default judgment

on her Americans with Disabilities Act (“ADA”) claims. Dkt. No. [28]. The Court

permitted Plaintiff to move for fees, costs, and litigation expenses. Id. Plaintiff

has now moved and has filed supporting affidavits. Dkt. No. [30]. After setting

forth the standard that applies to this motion, the Court discusses the

reasonableness of Plaintiff’s request.
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II.   LEGAL STANDARD

      The ADA permits the Court to award “the prevailing party . . . a reasonable

attorney’s fee, including litigation expenses, and costs . . . .” 42 U.S.C. § 12205.

Attorneys’ fees are typically calculated based on the “lodestar” method, wherein

the Court considers the reasonable number of hours expended multiplied by the

reasonable hourly rate. Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). This

method provides a “starting point” from which the Court may adjust based on

such factors as it deems appropriate. In assessing reasonableness of the lodestar,

courts may consider the “twelve factors derived from the ABA Code of

Professional Responsibility DR 2-106 (1980) and adopted in Johnson v. Georgia

Highway Express[, 488 F.2d 714, 717–19 (5th Cir. 1974)].” Norman v. Hous.

Auth. of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988). Those factors

include:

      (1) the time and labor required; (2) the novelty and difficulty of the
      questions; (3) the skill requisite to perform the legal service properly;
      (4) the preclusion of other employment by the attorney due to
      acceptance of the case; (5) the customary fee; (6) whether the fee is
      fixed or contingent; (7) time limitations imposed by the client or the
      circumstances; (8) the amount involved and the result obtained; (9)
      the      experience,      reputation,      and     ability     of    the
      attorneys; (10) the “undesirability” of the case; (11) the nature and le
      ngth of the professional relationship with the client; (12) awards in
      similar cases.

Kreager, 775 F.2d at 1543 n.2 (citing Johnson, 488 F.2d at 717–19). The Supreme

Court has emphasized that a district court “may consider” these factors, “though

it should note that many of these factors usually are subsumed within the initial

calculation of hours reasonably expended at a reasonable hourly rate.” Hensley,

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461 U.S. at 434 n.9. The Eleventh Circuit allows district courts “to consider any of

the Johnson factors to the extent that they suggest that comparables offered may

not be relevant to the issues before the court or as they may affect the weight to

be given to the comparables being offered to the court.” Norman, 836 F.2d at

1299–1300.

III.   DISCUSSION

       The Court has carefully reviewed Plaintiff’s memorandum in support of her

request for fees. Dkt. No. [30]. The Court has also reviewed the affidavits of

Attorney Bacon, Dkt. No. [30-1], and Attorney Houston, Dkt. No. [30-2], as well

as the affidavits in support of their requested fees, Dkt. No. [30-3]. Based on the

Court’s review of the filings and understanding of the legal market in this district,

the Court finds that $425 per hour is a reasonable rate for Attorney Bacon and

that $350 per hour is a reasonable rate for Attorney Houston.

       The Court also finds, with two exceptions, that the hours submitted in the

attorneys’ affidavits were reasonably expended. In Attorney Bacon’s affidavit, he

includes two entries that do not appear related to this case. On August 6, 2019,

there is an entry for .4 hours with the description “review defendant’s motion to

dismiss and affidavits.” However, Defendant never appeared in this case or filed

any motion to dismiss. The same issue arises with Attorney Bacon’s entry for .2

hours from June 22, 2020 with the description “exchange correspondence with

co-counsel re contact from counsel for defendant.” While it is conceivable that

defense counsel contacted Plaintiffs’ attorneys without appearing in the case,


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there is no corresponding entry on Attorney Houston’s itemized billing schedule,

so the Court infers that this entry, like the “motion to dismiss” entry, was a

mistake. With these two exceptions, the Court finds Plaintiff’s requested time

reasonable.

      The Court also finds Plaintiff’s request for fees related to service, filing, and

paying an expert to ensure ADA compliance to be reasonable and merited under

the ADA. 28 U.S.C. § 1920; 42 U.S.C. § 12205. The addition of these fees to

Plaintiff’s attorneys’ fees result in the following fees and expenses:

          1. Attorney Bacon’s Fees = 1.3 hours * $425.00 = $552.50

          2. Attorney Houston’s Fees = 12.3 hours * $350.00 = $4,305.00

          3. Filing Fees = $400.00

          4. Initial Expert Investigation Fees + Reinspection Fees = $600.00 +

              $600.00 = $1,200.00

          5. Process Server Fees = $140.00

              Total = $6,597.50

IV.   CONCLUSION

      Based upon the foregoing, Plaintiff’s Motion for Fees and Expenses [30] is

GRANTED. The Court awards Plaintiff $4,857.50 in attorneys’ fees and $1,740

in costs and fees of litigation for a total of $6,597.5.



      IT IS SO ORDERED this 3rd day of March, 2021.


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                           Leigh Martin May
                           United States District Judge




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